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               EXHIBIT A
        Case
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

NEONODE SMARTPHONE LLC,                          §
                                                 §
       Plaintiff,                                §
v.                                               §
                                                               Civil No. 6:20-cv-00505
                                                 §
APPLE INC.,                                      §
                                                 §          JURY TRIAL DEMANDED
       Defendant.                                §


     STIPULATION TO STAY CASE PENDING FINAL WRITTEN DECISIONS IN
              CERTAIN INTER PARTES REVIEW PROCEEDINGS

       Plaintiff Neonode Smartphone LLC (“Neonode”) and Defendant Apple Inc. (“Apple”)

(collectively, “Parties”) hereby stipulate to stay this case, with the exception of any work related

to discovery in Sweden, pending the final written decision in IPR2021-00145 and, if rehearing is

granted in IPR2021-00144, a final written decision in IPR2021-00144.1

       On November 6, 2020, Apple and Samsung (collectively, “Petitioners”) jointly filed

IPR2021-00144 against U.S. Patent No. 8,095,879 and IPR2021-00145 against U.S. Patent No.

8,812,993. On June 15, 2021, the Patent Trial and Appeal Board (“PTAB”) denied institution on

IPR2021-00144, and on June 16, 2021, it granted institution for IPR2021-00145. On July 15,

2021, Petitioners filed a rehearing request at the PTAB in IPR2021-00144, which is pending.




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  Neonode and Samsung intend to file a similar stipulation to stay in Neonode Smartphone LLC
v. Samsung Electronics Co. Ltd., et al., Case No. 6:20-cv-00507-ADA (W.D.Tex.), which
involve the same patents.
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Date: August 11, 2021

Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the above document was served

on August 11, 2021 to all counsel of record via ECF.

                                               /s/     Betty Chen
                                                       Betty Chen




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